        Case 1:21-cr-00035-EGS Document 86-1 Filed 07/19/21 Page 1 of 2




                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                     July 19, 2021

VIA Email and USAfx

ALEX CIROCCO
Counsel for Jeffrey Sabol

DAVID BENOWITZ
RAMMY BARBARI
Counsel for Peter Stager

DENNIS BOYLE
BLERINA JASARI
Counsel for Michael Lopatic

PAT M. WOODWARD JR.
Counsel for Clayton Mullins

BEN ALPER
Counsel for Jack Wade Whitton

       Re:      United States v. Sabol et al
                Case No. 21-CR-35 (EGS)

Dear Counsel:

       We are writing to provide you with preliminary discovery in this case through USAFx.
This material is subject to the terms of the Protective Order issued in this case. The discovery is
unencrypted. Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

The files discussed below are available for download                            on   USAfx      at:
https://usafx.box.com/s/foh10zm3zshgpdlkx6jzxpwy1fh3besm
        Case 1:21-cr-00035-EGS Document 86-1 Filed 07/19/21 Page 2 of 2




Video from Witness 1

        We are providing you with a one hour and ten minute video provided to the government
by an individual hereinafter referred to as Witness 1. The video file is named
jan6phonerecovery.

As detailed in the documents listed below, Witness 1 received a one-time payment of $2,000 for
Witness 1’s services, namely allowing the Government to use Witness 1’s videos, and removing
Witness 1’s watermark from the videos.

    • r_U__FOUO_Request_For_One_Time_Non-CHS_Payment.pdf (2 pages)
    • r_U__FOUO_Receipt_of_Video_from_[W-1].pdf (2 pages)
    • r_U__FOUO_Request_For_One_Time_Non-CHS_Payment_1.pdf (3 pages)

Additional Officer Interviews

       We are also providing you with two additional memorandums of interviews of law
enforcement who were located at the Lower West Terrace:

    • r_0176-MP-3373451_0000048 (USCP Officer [B.B.]).pdf (2 pages)
    • r_(U__FOUO)_Interview_of_[J.P.].pdf (9 pages)



       If you have any questions, please feel free to contact me.

                                                    /s/ Colleen D. Kukowski
                                                    COLLEEN D. KUKOWSKI
                                                    Assistant United States Attorney

                                                    BENET KEARNEY
                                                    Assistant United States Attorney




                                                2
